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 7
                                UNITED STATES DISTRICT COURT
 8
                                      DISTRICT OF NEVADA
 9
10   UNITED STATES OF AMERICA,                                  Case No. 2:07-cr-145-KJD-PAL-9

11                 Plaintiff,                                    STIPULATION TO EXTEND
                                                                DEADLINES IN THIS COURT’S
12          v.
                                                                 AUGUST 18, 2015 ORDER BY
13   KORY ALLEN CROSSMAN,                                         FORTY- FIVE (45) DAYS

14                 Defendant.                                          (Second Request)

15
16          The United States of America, by Assistant United States Attorney Elizabeth Olson
17   White, and Defendant Kory Allen Crossman, by Assistant Federal Public Defender Nisha
18   Brooks-Whittington, submit the following Joint Stipulation to extend, by forty-five (45) days,
19   all of the deadlines set in this Court's Order dated August 18, 2015. See CR 1482.
20          The parties agree and stipulate to the following:
21          1.     On November 26, 2008, this Court sentenced Defendant to 140 months'
22   imprisonment on his conviction for drug-related offenses. CR 437.
23          2.     On March 23, 2015, undersigned counsel filed a motion for appointment of
24   counsel pursuant to 18 U.S.C. § 3006A and Local Rule 44-1 on behalf of Mr. Crossman to
25   determine whether he may qualify to seek a reduction of his sentence in light of Guidelines
26   Amendment 782 and 18 U.S.C. § 3582(c)(2). CR 1474.
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 1          3.      On April 8, 2015, this Court issued an Order appointing the Federal Public
 2   Defender to represent Defendant, and setting deadlines. Specifically, the Court ordered the
 3   Probation Office to provide certain documents to the parties within 30 days (i.e., by
 4   May 8, 2015) and ordered the Federal Public Defender to file any appropriate motion or
 5   stipulation within 120 days (i.e., by August 6, 2015). CR 1475.
 6          4.      On August 6, 2015, the parties filed a joint stipulation to extend the deadlines in
 7   this Court’s April 8, 2015 Order by 60 days. CR 1480. On August 18, 2015, the Court granted
 8   the stipulation. CR 1482.
 9          5.      The parties have continued to request Mr. Crossman's disciplinary hearing and
10   progress report records from the Bureau of Prisons and to date they have not been received.
11   Undersigned counsel recently spoke with a Bureau of Prisons' representative regarding
12   Mr. Crossman's records and was informed that the request would be reviewed. Additional time
13   is requested to receive and review those records prior to filing any motions with the Court.
14          6.      For the reason stated above, the parties respectfully request that the Court issue
15   an order extending the deadlines in the Court's August 18, 2015 Order, by forty-five (45) days.
16          DATED this 1st day of October, 2015.
17                                                   Respectfully submitted,
18
19    RENE L. VALLADARES                             DANIEL G. BOGDEN
      Federal Public Defender                        United States Attorney
20
      /s/ Nisha Brooks-Whittington                   /s/ Elizabeth O. White
21
      NISHA BROOKS-WHITTINGTON                       ELIZABETH O. WHITE
22    Assistant Federal Public Defender              Appellate Chief and
                                                     Assistant United States Attorney
23
             10/6/2015
      DATED: __________________
24                                                             IT IS SO ORDERED

25
26                                                            ___________________
                                                              U.S. DISTRICT JUDGE
                                                      2       KENT J. DAWSON
